CaseSearch
OCS                                                                    Page1 1ofof4
     1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page       49




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   JELEN CARPIO VS NCL (BAHAMAS) LTD. ET AL
   Local Case Number: 2018-013783-CA-01
   Filing Date: 04127 12018
   State Gase Number: 132018CA01 3783000001
   Case Type: Other Negligence
   Consolidated Case No.: N/A
   Judicial Section: CA25
   Gase Status: OPEN




    El Part¡es                                                 Number of Parties: 4 *



    el, Hearing Details                                       Number of Hearing: 0 *



    ñ Dockets                                                 Dockets Retrieved: l9   r




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                                                                     EXHIBIT  1
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OCS                                                                     Page22ofof49
     1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page         4



     CiExport to   -
                                               Docket      Event
              Number Date           Book/Page Entry        Type      Gomments

      D       16       07t03t2018              Notice      Event     OF AGREED EXTENSION OF
                                                                     TIME


       f      15       06t25t2018             Notice of    Event
                                              Appearance

       ¡      14       06t2012018              Service     Event
                                               Returned


       D      13       06t14t2018              Notice:     Event     OF AGREED EXTENSION OF
                                                                     TIME


       D      12       06t06t2018              Service     Event
                                               Returned


       l      11       06/06/2018              Service     Event
                                               Returned

                       05t10t2018              20 Day      Service
                                               Summons
                                               lssued


       ¡      l0       05t10t2018              ESummons    Event     Pañies: D-lDAV|T
                                               20 Day                INTERNATIONAL INC.
                                               lssued

                       05t10t2018              20 Day      Service
                                               Summons
                                               lssued


       ¡      9        05t1012018              ESummons    Event     Pa¡fies: HATECKE SERY/CE
                                               20 Day                USA LLC
                                               lssued

                       05t10t2018              20 Day      Service
                                               Summons
                                               lssued


       D      8        05t10t2018              ESummons    Event Pañies: NCL (BAHAMAS) LTD.
                                               20 Day
                                               lssued




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OCS                                                                     Page33ofof4
     1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page       49


                                              Docket      Event
            Number Date            BooldPage Entry        Type    Gomments

            7        05t08t2018               Receipt     Event   RECEIPT#:3400047 AMT
                                                                  PAID:$30.00
                                                                  NAME:WINKLEMAN,
                                                                  MICHAEL ALAN 2 S
                                                                  BISCAYNE BLVD M¡AMI FL
                                                                  33131-1806 GOMMENT:
                                                                  ALLOCATION CODE
                                                                  QUANTITY UNIT AMOUNT
                                                                  3139.SUMMONS ISSUE FEE
                                                                  r $r0.00 $r0.00 3139-
                                                                  SUMMONS ISSUE FEE 1
                                                                  $10.00 $10.00 3139-s

            3        0510212018               Receipt:    Event   RECEIPT#:3500189 AMT
                                                                  PAID:$401.00
                                                                  NAME:WINKLEMAN,
                                                                  MICHAEL ALAN 2 S
                                                                  BISCAYNE BLVD MIAMI FL
                                                                  33131-1806 COMMENT:
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                                              Summons
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       ¡    5         0510112018              (M)20 Day   Event
                                              (c)
                                              Summons
                                              (Sub)
                                              Received


       D    4         05t01t2018              (M)20 Day   Event
                                              (c)
                                              Summons
                                              (Sub)
                                              Received


       ¡    2         04t27t2018              Complaint Event



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CaseSearch
OCS                                                                     Page4 4ofof49
     1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page          4



                                                            Docket            Event
               Number Date                  Book/Page Entry                   Type        Comments

        ¡      1            04t27t2018                      CivilCover Event




     (( Back to Search


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Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 5 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 6 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 7 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 8 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 9 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 10 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 11 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 12 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 13 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 14 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 15 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 16 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 17 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 18 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 19 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 20 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 21 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 22 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 23 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 24 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 25 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 26 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 27 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 28 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 29 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 30 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 31 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 32 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 33 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 34 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 35 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 36 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 37 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 38 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 39 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 40 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 41 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 42 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 43 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 44 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 45 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 46 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 47 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 48 of 49




                                                                  EXHIBIT 1
Case 1:18-cv-22923-DPG Document 1-2 Entered on FLSD Docket 07/19/2018 Page 49 of 49




                                                                  EXHIBIT 1
